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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

YAKULT U.S.A. INC.,

                       Defendant(s),                           22-cv-1826 (PKC)

               -against-                                       ORDER
                                                      INITIAL PRETRIAL CONFERENCE


R.R. IMPORTACIONES, INC.

                  Plaintiff(s),
_____________________________________

CASTEL, United States District Judge.


       COUNSEL FOR PLAINTIFF (OR THE REMOVING DEFENDANT)
       SHALL IMMEDIATELY SEND A COPY OF THIS ORDER TO ALL PARTIES.


        1.      Counsel for all parties shall appear for an Initial Pretrial Conference, held pursuant to
Rule 16 of the Federal Rules of Civil Procedure, April 28, 2022 at 11:30 a.m. Principal trial counsel
shall appear at this and all subsequent conferences.

        2.     The parties shall submit a joint letter five business days prior to the Conference
addressing the following in separate paragraphs: (1) a brief description of the case, including the
factual and legal bases for the claim(s) and defense(s); (2) any contemplated motions; and (3) the
prospect for settlement. The parties shall set forth the date and time of the Conference in the opening
paragraph of the joint letter.

       3.       The parties are directed to confer on a Case Management Plan (the “Plan”) in
accordance with Rule 26(f) of the Federal Rules of Civil Procedure. The outline of a Plan may be
found on the Court’s website: https://nysd.uscourts.gov/hon-p-kevin-castel. The jointly proposed
Plan shall be submitted in writing to the Deputy Clerk immediately prior to the Conference.

       4.      The parties shall consult the undersigned’s Individual Practices available on the
Court’s website. Requests for adjournment of the Conference will be considered only if made in
writing and in accordance with the undersigned’s Individual Practices.

       5.     Prior to the Conference, counsel for all parties shall file a Notice of Appearance in
accordance with the Rules and Instructions for Electronic Case Filing.
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       6.      Due to the COVID-19 pandemic, conferences with the Court in civil cases will be
held by teleconferencing until further notice. For initial pretrial conferences, plaintiff(s)’
counsel shall, no later than 5 business days before the conference, email a copy of the agreed
upon (or disputed) Civil Case Management Plan & Scheduling Order to:
castelnysdchambers@nysd.uscourts.gov .

             The call-in information for all teleconferences is:
             Dial-in:       (888) 363-4749
             Access Code: 3667981


             SO ORDERED.




Dated: New York, New York
       March 14, 2022
